Case 20-02804-dd       Doc 278    Filed 06/21/22 Entered 06/21/22 16:40:27            Desc Main
                                  Document     Page 1 of 2



                                 U.S. BANKRUPTCY COURT
                                   District of South Carolina



Case Number: 20-02804-jw



                          Order Dismissing Debtors’ Chapter 12 Case

The relief set forth on the following pages, for a total of 2 pages including this page, is hereby
ORDERED.
______________________________________________________________________________




 FILED BY THE COURT
     06/21/2022




                                                   US Bankruptcy Judge
                                                   District of South Carolina



   Entered: 06/21/2022
Case 20-02804-dd       Doc 278    Filed 06/21/22 Entered 06/21/22 16:40:27             Desc Main
                                  Document     Page 2 of 2




                         UNITED STATES BANKRUPTCY COURT

                       FOR THE DISTRICT OF SOUTH CAROLINA



IN RE:                        )              Bankruptcy Case No. 20-02804-jw
                              )
Terry Wayne Strickland and    )              Chapter 12
Mattie Charlene Strickland,   )
                              )
             Debtors.         )
______________________________)


                  ORDER DISMISSING DEBTORS’ CHAPTER 12 CASE

       This matter comes before the Court on the Chapter 12 Trustee’s Motion to Dismiss filed

on April 19, 2022. The motion was properly served on the Debtors, Debtors’ counsel, United

States Trustee, and all creditors of the Debtors. Debtors filed an objection to the motion, but

withdrew it on May 24, 2022.      No other objections have been filed. Therefore, based upon

grounds of the Trustee’s motion, the Debtors’ Chapter 12 case is hereby dismissed.

       This Court retains authority and jurisdiction to rule on any applications of the Trustee for

commission and costs and other matters relating to the closing of and administration of the case.

       AND IT IS SO ORDERED.
